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                            UNITED STATES DISTRICT COURT
                             MIDDLE DISTRICT OF FLORIDA
                                FORT MYERS DIVISION

UNITED STATES OF AMERICA

-vs-                                                            Case No.: 2:10-cr-136-FtM-29SPC

JEFFREY FETTERMAN
_______________________________________


                                              ORDER

       This matter comes before the Court on Waiver of Defendant’s Presence at Arraignment and

Entry of Not Guilty Plea (Doc. #85) filed on May 9, 2011. The Defendant has signed a Waiver of

Arraignment indicating his waiver of his right to be present at an Arraignment hearing. Further, the

Defendant enters a plea of not guilty to the charges. The Court, having considered the signed waiver,

accepts the Defendant’s plea of not guilty and will cancel the Arraignment hearing. The case will

be set before the District Court by separate notice for a status conference and trial term.

       Accordingly, it is now

       ORDERED:

       Waiver of Defendant’s Presence at Arraignment and Entry of Not Guilty Plea (Doc. #85) is

GRANTED. The Court directs the Clerk to enter a plea of not guilty on behalf of the Defendant and

to set a status conference and trial term before the District Court by separate notice.

       DONE AND ORDERED at Fort Myers, Florida, this              11th      day of May, 2011.




Copies: All Parties of Record
